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                       IN THE UNITED STATES BANKRUPTCY COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION


In re:                                                               Chapter 11

WELLPATH HOLDINGS, INC., et al.,1                                    Case No. 24-90533 (ARP)


                                       Debtors.                      (Joint Administration Requested)


                             DECLARATION OF
                         TIMOTHY J. DRAGELIN AS
                   CHIEF RESTRUCTURING OFFICER AND
          CHIEF FINANCIAL OFFICER OF WELLPATH HOLDINGS, INC.
        AND CERTAIN OF ITS AFFILIATES AND SUBSIDIARIES IN SUPPORT
    OF THE DEBTORS’ CHAPTER 11 PROCEEDINGS AND FIRST DAY PLEADINGS

         I, Timothy J. Dragelin, hereby declare under penalty of perjury:

         1.      I am a Senior Managing Director with FTI Consulting, Inc. (“FTI”) and, since

June 2024, I have served as the Interim Chief Financial Officer of Wellpath Holdings, Inc. (“WHI”

and, collectively with its debtor affiliates, the “Debtors” and, collectively with their non-Debtor

affiliates, “Wellpath”) and, since October 2024, I have served in a dual role of Chief Restructuring

Officer and Chief Financial Officer. In addition, from December 2022 through April 2023 I served

as Wellpath’s Chief Transformation Officer.

         2.      I joined FTI in August 2002 and specialize in providing financial advisory services

to the various corporate stakeholders, including borrowers, creditors, and equityholders. I have

more than 30 years of experience across multiple industries, most notably healthcare, real estate,

structured finance, and government contracting. I lead FTI’s Healthcare Interim Management




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    A complete list of the Debtors (as defined below) in these chapter 11 cases may be obtained on the website of the
    Debtors’ proposed claims and noticing agent at https://dm.epiq11.com/Wellpath. The Debtors’ service address
    for these chapter 11 cases is 3340 Perimeter Hill Drive, Nashville, Tennessee 37211.
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group and co-lead FTI’s Healthcare Restructuring practice. My experience ranges from advising

not-for-profit entities to privately held companies to multinational publicly traded corporations. I

am regularly involved in interim management, bankruptcy planning and management, turnaround

consultation, lender advisory, buy-side due diligence, sell-side mandates, valuation, and

performance improvement engagements.

       3.      Prior to joining FTI, I was employed by PricewaterhouseCoopers in various

capacities within the financial advisory services practice. I have been proffered and appeared as

an expert witness relative to restructuring, accounting, financial, and valuation topics in several

venues. I earned a B.B.A. in accounting from the College of William & Mary in Virginia, and

previously held both certified public accountant and certified valuation analyst designations.

       4.      In connection with the filing of this declaration (this “Declaration”), each of

the Debtors filed a voluntary petition (collectively, the “Petitions”) in the United States

Bankruptcy Court for the Southern District of Texas (the “Court”) for relief under chapter 11 of

title 11 of the United States Code (the “Bankruptcy Code”). To minimize the potential adverse

impact of the commencement of these chapter 11 cases, the Debtors have requested certain “first

day” relief in various applications and motions filed with the Court, each of which is listed in

Section V.A below (collectively, the “First Day Pleadings”). I have reviewed the First Day

Pleadings or have otherwise had their contents explained to me, and it is my belief that the relief

sought therein is essential to the uninterrupted operation of the Debtors’ businesses and to the

success of these chapter 11 cases. The First Day Pleadings seek relief intended to preserve the

value of the Debtors by, among other things, satisfying certain prepetition claims and granting

certain administrative and procedural relief to facilitate an orderly transition into and out of these

chapter 11 cases. This relief is critical to the Debtors’ restructuring and reorganization efforts.




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       5.      As a result of my tenure with Wellpath, I am generally familiar with the Debtors’

capital structure, day-to-day operations, business and financial affairs, and financial records. I am

also familiar with the Debtors’ corporate structure and the status of the Debtors’ relationships with

various vendors and service providers. I submit this Declaration in support of the Petitions and

the First Day Pleadings and to assist the Court and other parties in interest in understanding

Wellpath’s corporate history, business operations, and prepetition capital structure and the

circumstances that compelled the commencement of these chapter 11 cases as of

November 11, 2024 (the “Petition Date”).

       6.      Except as otherwise indicated herein, all facts set forth in this Declaration are based

upon my personal knowledge, my review of relevant documents of the Debtors, other information

prepared or collected by the Debtors’ employees, my conversations with the Debtors’ advisors,

information supplied to me by other members of the Debtors’ management and third-party

advisors, or my opinion based on my experience with the Debtors’ operations and financial

condition. In making my statements based on documents and other information prepared or

collected by the Debtors’ employees or my conversations with the Debtors’ counsel or other

advisors, I have relied upon the accuracy of such documentation and other information. If called

upon to testify, I would testify competently to the facts set forth in this Declaration. Unless

otherwise indicated, the financial information contained herein is unaudited and provided on a

consolidated basis.

                                     Preliminary Statement

       7.      Wellpath is the premier provider of localized, high quality, compassionate care to

vulnerable patients in challenging clinical environments. Wellpath is the leading medical and

mental health services provider in correctional facilities, inpatient and residential treatment




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facilities, forensic treatment facilities, and civil commitment centers. Headquartered in Nashville,

Tennessee with operations in approximately 420 facilities across 39 states, Wellpath provides

outsourced solutions to the correctional healthcare and behavioral healthcare industries. Wellpath

offers an array of healthcare services to its federal, state, and local government partners, including

on-site medical services, telehealth and mental health programs, and pharmacy management.

Wellpath employs more than 13,000 people and serves nearly 200,000 patients daily.

       8.      Despite Wellpath’s historical and continued market leading position and its critical

role in addressing the healthcare needs of its clients, Wellpath faced significant financial

challenges in recent years. Those issues stemmed from, among other things, escalating operating

and labor costs, a transitory increase in professional liability insurance expenses, and

underperformance on several significant contracts. These financial challenges, combined with a

high-rate interest environment, led to increasing liabilities, deferred payables, and liquidity

shortfalls. Compounding matters, the maturity date of the Debtors’ Prepetition Revolving Credit

Facility (as defined below) would occur in October 2024.

       9.      Starting in January 2024, to address the Debtors’ significant maturity wall, Lazard

Frères & Co. LLC (“Lazard”), as the Debtors’ restructuring investment banker, worked closely

with the Debtors’ legal counsel, McDermott Will & Emery LLP (“McDermott”), to pursue an out-

of-court recapitalization transaction involving a sale of the Debtors’ behavioral health division,

Recovery Solutions (the “RS Division”). The Debtors sought to use proceeds from a potential sale

of the RS Division to pay down a significant portion of the Prepetition First Lien Credit Facility

to facilitate an extension of the remaining debt amounts. As such, between January and March of

2024, Lazard prepared for the marketing process of the RS Division.




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       10.     The sale process of the RS Division was launched in April 2024. Lazard, together

with the Debtors’ healthcare investment banker, MTS Health Partners L.P. (“MTS”), contacted

over 140 parties, including financial sponsors and strategic parties, to solicit proposals to acquire

the RS Division. In connection with the solicitation, Lazard and MTS prepared, among other

things, a confidential information presentation and an electronic data room to which prospective

bidders that executed confidentiality agreements received access.             In total, more than

70 prospective bidders executed confidentiality agreements and received access to private-side

information. By the end of June 2024, the Debtors received six preliminary indications of interest

as part of a first-round process. The Debtors continued and further advanced the marketing process

during July and August of 2024.

       11.     During that time, the Debtors and Lazard began engaging with an ad hoc group of

lenders (the “Ad Hoc Group”) represented by Akin Gump Strauss Hauer & Field LLP, as counsel,

Houlihan Lokey Capital, Inc., as investment banker, and Ankura Consulting Group LLC, as

financial advisor, to begin discussions about potential out-of-court balance sheet solutions. On

August 30, 2024 (as later amended on September 30, 2024 and October 31, 2024), the Debtors and

the Ad Hoc Group executed the Forbearance Agreements (as defined below) to forbear from taking

enforcement actions relating to the events of default in connection with the cash interest and

amortization payments on the prepetition credit facilities as well as maturity of the Prepetition

Revolving Credit Facility, with the goal to preserve liquidity and extend the runway to continue

working toward an amicable solution.

       12.     However, despite the Debtors’ robust marketing process, after several weeks of

further diligence and management presentations, the Debtors only received one formal second-

round check-in bid, which was at a reduced valuation from the preliminary indication of interest.




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While Wellpath and its advisors tried to keep the bidder engaged, the Debtors also attempted to

reengage with other bidders between August and September of 2024. The Debtors did not receive

any acceptable bids at the conclusion of the Debtors’ bidding process. Consequently, the Debtors

temporarily put the marketing process on hold and pivoted to negotiating the terms of an in-court

restructuring with the Ad Hoc Group. These negotiations ultimately led to the execution of the

Restructuring Support Agreement, dated November 11, 2024 (the “RSA”), attached hereto as

Exhibit B.

       13.     The RSA provides a flexible structure that will enable the parties to explore the

most value-maximizing restructuring alternative available. Under the RSA, the Debtors’ proposed

restructuring has several components.

       14.     First, to fund these chapter 11 cases and the processes and transactions

contemplated by the RSA, subject to Court approval, the Debtors secured access to a debtor-in-

possession financing facility in the aggregate principal amount of $522,375,000 consisting of up

to (a) $105,000,000 in new money term loans and (b) $417,375,000 in “rolled up” prepetition

secured loans (the “DIP Term Facility”). All Prepetition Lenders (as defined below) will have the

opportunity to participate in the $105,000,000 new money term loan financing, which will be

syndicated following the “first day” hearing in these chapter 11 cases. The Prepetition Lenders

party to the RSA have agreed to backstop the new money term loan financing. All Prepetition

Lenders that participate in the new money financing will have certain of their prepetition debt

holdings rolled up into the DIP Term Facility.

       15.     Second, the RSA contemplates an active, open marketing process for a value-

maximizing sale for substantially all or one or more subsets of the Debtors’ assets. To that end,

on the Petition Date, the Debtors have filed a motion asking the Court to approve the proposed




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Bidding Procedures (as defined in the Bidding Procedures Motion) 2 for such a sale and certain

related dates and deadlines. The Bidding Procedures provide for a dual track process that will

allow the Debtors flexibility to market assets associated with the RS Division, the LG Division,

and the SF Division. Although the proposed Bidding Procedures and the RSA provide for a longer

runway for the LG Division assets and SF Division assets, the Debtors propose a faster timeline—

approximately six weeks after the Petition Date—to market and consummate the sale of the

RS Division assets. As further explained below and in the Bidding Procedures Motion, given both

(a) the extensive marketing process the occurred prepetition, (b) upcoming contract renewals, and

(c) the vulnerable patients the RS Division serves, this expeditious timeline is warranted under the

circumstances.

        16.      Third, the Debtors’ proposed lenders under the DIP Term Facility

(the “DIP Lenders”) and the Prepetition Lenders party to the RSA have agreed that they will cap

any credit bid of the loans outstanding under the DIP Term Facility for the Debtors’ RS Division

assets and related business lines. Although the credit bid cap does not prevent the DIP Lenders

from including cash as part of any overbid, this structure assures interested bidders that they are

not competing against “credit bid currency” up to the full amount of the Debtors’ post-petition

debt. The Debtors believe that the credit bid cap will increase the likelihood of a robust auction

process for the Debtors’ assets. Indeed, the Debtors and their prepetition secured lenders are eager




2
    “Bidding Procedures Motion” means the Debtors’ Emergency Motion for Entry of Orders (I)(A) Approving the
    Bidding Procedures for the Sale of the Debtors’ Assets, (B) Approving Entry into a Stalking Horse Purchase
    Agreement for the Recovery Solutions Assets, (C) Authorizing the Recovery Solutions Expense Reimbursement,
    (D) Authorizing Potential Selection of Stalking Horse Bidders for the Corrections Assets and Approving Related
    Corrections Asset(s) Bid Protections, (E) Establishing Related Dates and Deadlines, (F) Approving the Form and
    Manner of Notice Thereof, and (G) Approving the Assumption and Assignment Procedures, (II)(A) Approving the
    Sale of the Debtors’ Assets Free and Clear of Liens, Claims, Interests, and Encumbrances (B) Authorizing the
    Assumption and Assignment of Executory Contracts and Unexpired Leases, and (III) Granting Related Relief
    filed contemporaneously herewith.


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to (a) ensure a true market test on the value for the Debtors and their assets and (b) maximize the

value of the Debtors’ estates for the benefit of all stakeholders.

       17.     Fourth, with respect to the Debtors’ LG Division and SF Division, under the RSA,

the DIP Lenders have committed to purchase in a direct private placement new equity interests in

Reorganized Wellpath pursuant to a chapter 11 plan of reorganization, subject to a post-petition

marketing process for a sale of these assets under section 363. The DIP Lenders party to the RSA

as of the Petition Date have agreed to backstop the Debtors’ proposed equity financing in respect

of Reorganized Wellpath.

       18.     Finally, the Debtors propose an expeditious chapter 11 process that appropriately

balances the Debtors’ restructuring goals, the health and safety of their patients, and notice and

due process considerations. It is critical that the Debtors emerge from these chapter 11 cases as

soon as reasonably practicable due to the nature of their business and their vulnerable patient

population. The Debtors believe that consummation of the transactions contemplated in the RSA

will ensure continued operations of their healthcare services, employment of their physicians, and

safety of their patients. Any delay puts the well-being of the Debtors’ patients at risk and increases

the likelihood of irreparable harm to the Debtors’ businesses.

       19.     The Debtors expect to continue operations normally throughout these chapter 11

cases and remain focused on providing the quality healthcare services that their patients require.

The Debtors are committed to working collaboratively with their stakeholders, including creditors,

employees, and clients, to move through these chapter 11 cases in an efficient, structured manner.

       20.     To familiarize the Court with the Debtors, their businesses, the circumstances

leading up to these chapter 11 cases, and the relief that the Debtors are seeking in the First Day

Pleadings, this Declaration is organized into five parts. Part I provides a general overview of the




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Debtors’ corporate history and business operations. Part II provides an overview of the Debtors’

prepetition capital structure.   Part III describes the circumstances leading to the filing of

these chapter 11 cases. Part IV provides an overview of the RSA and the proposed path for these

chapter 11 cases. Part V discusses the First Day Pleadings.

I.     Wellpath’s History and Operations.

       A.      Corporate History.

       21.     Wellpath’s roots trace back to two legacy businesses that offered out-sourced

healthcare services to the corrections industry: (a) Correctional Medical Group Companies

(“CMGC”); and (b) Correct Care Solutions (“CCS”).             CMGC was a healthcare provider

specializing in medical services for correctional facilities. Founded in 1983, CMGC focused on

delivering comprehensive healthcare solutions to inmates in jails and prisons across the United

States. CMGC offered a range of services, including primary care, dental care, mental health

services, and chronic disease management. In 2012, funds affiliated with H.I.G. Capital, LLC

(collectively, “HIG”) acquired CMGC.

       22.     CCS was founded in 2003 and quickly grew to become one of the largest providers

of healthcare services to correctional facilities across the United States. CCS specialized in

offering comprehensive medical and mental health services to inmates, including primary care,

dental care, chronic disease management, and mental health treatment.

       23.     In 2018, CCS merged with CMG through a transaction led by HIG. The combined

entity rebranded under the banner “Wellpath” to reflect its broader focus on integrated healthcare

solutions, including behavioral health, medical, and dental care. Since the merger, Wellpath has




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become the leading and largest provider of healthcare services in correctional and custodial

behavioral health settings in the United States.

        B.      Wellpath’s Revenue Model and Business Operations.

        24.     Wellpath’s revenue model is largely based on long-term contracts with government

entities, which provide stable, recurring revenue. Most contracts contain built-in cost escalators

tied to inflation, particularly in the LG Division, helping to protect margins from rising operational

costs. Wellpath also benefits from strong client satisfaction, as illustrated by its long-standing

relationships—e.g., approximately 50 of Wellpath’s customers have partnered with the company

for at least 20 years.

        25.     Because Wellpath contracts directly with government entities, it must often go

through a request for proposal (“RFP”) process when, for example, a contract expires or when

Wellpath seeks to enter a new area.        Although the RFP process varies depending on the

governmental entity, the process essentially involves a competitive bidding process among similar

service providers.

        26.     Wellpath’s business operations are structured into three key divisions: (a) State &

Federal (the “SF Division”); (b) Local Government (the “LG Division”); and (c) the RS Division.

                1.       SF Division.

        27.     The SF Division delivers medical services to a total patient population of

approximately 135,000 individuals in approximately 131 state and federal prisons across 10 states.

With a staff of approximately 1,600 healthcare professionals, the SF Division’s operations focus

on chronic care and disease management for incarcerated individuals (with an average sentence of

approximately three years). Patients require ongoing care with more targeted treatment fulfilled

by a large in-house, on-site staff equipped to offer extensive medical treatment. The SF Division




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offers a comprehensive on-site suite of medical services, including recruiting and staffing, dental,

lab, and x-ray services, behavioral healthcare programs, off-site emergency services coordination,

and pharmacy services.

        28.     The SF Division generally negotiates its contracts directly with state government

entities and the Federal Bureau of Prisons for five-to-ten-year terms (subject to extensions). The

contracts provide a stable revenue stream on a monthly basis and contain prenegotiated terms to

account for off-site and on-site services and pharmacy costs during the RFP bidding process.

In 2023, the SF Division generated approximately $775,000,000 in revenue, which accounted for

approximately 35% of Wellpath’s total 2023 revenue.3

                2.       LG Division.

        29.     With a staff of approximately 1,600 healthcare professionals, the LG Division

delivers medical, dental, and mental healthcare services to a total patient population of

approximately 138,000 adult and juvenile patients in more than 240 local detention facilities across

29 states. The LG Division’s patients require care in the most efficient manner possible because

of the short duration of their stay (approximately two weeks on average) in local correctional

facilities.

        30.     Like the SF Division, the LG Division offers a comprehensive on-site suite of

medical services in accordance with client requirements and applicable accrediting body rules.

Such services include, among others, comprehensive medical and behavioral healthcare programs,

off-site hospital contracting, and dental care.

        31.     To operate successfully, the LG Division must overcome challenges not found in

other healthcare settings. The LG Division’s patients move frequently and are in-and-out of


3
    These figures include revenue from three contracts that were terminated in 2024. Excluding the revenue from
    those contracts, the SF Division generated revenue of approximately $332,000,000 in 2023.


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facilities in a short amount of time, making patient care management difficult. To address those

obstacles, the LG Division built its own provider networks that can provide care off-site if

Wellpath is unable to provide healthcare services within the facility.

        32.      The LG Division’s client base primarily consists of municipal and county

government entities, such as county sheriffs, county health departments, and other various local

government officials. The LG Division negotiates its contracts directly with local governmental

entities, which may require going through an RFP process for contracts that typically span three-

to-five years (plus possible extension terms). The LG Division contracts provide stable, recurring

revenue on a monthly basis with annual revenue escalators, and many include structured spending

caps to mitigate risks associated with off-site treatment (e.g., hospitalization) and pharmacy costs.

        33.      In 2023, the LG Division generated approximately $1,000,000,000 in revenue,

which accounted for approximately 45% of Wellpath’s total 2023 revenue. 4

                 3.       RS Division.

        34.      Founded in 1997, the RS Division is the largest U.S. provider of behavioral health,

residential treatment, and community-based services for public entities. Recognized as a pioneer

in the development of evidence-based, patient-centered models of therapeutic intervention for

individuals with serious mental illness, the RS Division’s business model addresses behavioral

health needs, focusing on patients underserved by traditional mental health services, and provides

a broad range of outsourced behavioral health services. Since its founding, the RS Division has

grown to become the largest player in an underserved, high barrier-to-entry market for acute

patient populations suffering from long-term conditions that reside in public facilities has been.




4
    These figures include revenue from contracts the Debtors rationalized in 2024. Excluding the revenue from those
    contracts, the LG Division generated revenue of approximately $918,000,000 in 2023.


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With a staff of approximately 3,700 healthcare professionals, the RS Division provides health

services to approximately 3,000 patients and operates approximately 70 facilities across 10 states.

         35.   The RS Division differentiates itself from private behavioral health facilities by

focusing on higher-acuity patients that require longer treatment durations.         Indeed, the RS

Division’s services fill an underserved need in the correction healthcare space. States and counties

struggle to meet needs of specialized patients due to complex health diagnoses, bed shortages, and

a lack of specialized mental health staff.        The RS Division fills this need by offering

comprehensive, “one-stop-shop” service offerings that allow public entities to efficiently

outsource all their complex behavioral health populations needs to a single provider.

         36.   The RS Division benefits from a “capex-light” model, as state and county entities

typically fund facility construction and improvements. Many of the RS Division’s contracts

contain price escalators tied to the Consumer Price Index to protect margins. In addition, the RS

Division’s contracted revenue model, which is based on beds rather than occupancy, provides

stable revenue streams (unlike private facilities that are subject to patient volume fluctuations).

         37.   The RS Division has demonstrated strong financial growth, with a 14% annual

growth rate in revenue since 2021.         In 2023, the RS Division generated approximately

$425,000,000 in revenue, which accounted for approximately 20% of Wellpath’s total 2023

revenue.

II.      Wellpath’s Prepetition Corporate and Capital Structure.

         38.   Wellpath’s corporate structure chart is attached hereto as Exhibit A.

         39.   As of the Petition Date, the Debtors’ prepetition capital structure includes

approximately $644,096,041 of outstanding principal funded debt obligations, as summarized

below:




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                                                                       Approx. Principal
               Funded Debt                        Maturity
                                                                    Amount Drawn/Outstanding
 Prepetition Revolving Credit Facility         October 1, 2024                $61,596,041
 Prepetition First Lien Term Loan
                                               October 1, 2025               $472,500,000
 Facility
 Prepetition Second Lien Term Loan
                                               October 1, 2026               $110,000,000
 Facility
     Total Funded Debt Obligations                                 $644,096,041

       A.      Prepetition First Lien Obligations.

       40.     Certain of the Debtors are party to that certain First Lien Credit Agreement (as

amended, amended and restated, supplemented, and otherwise modified from time to time prior to

the date hereof, the “Prepetition First Lien Credit Agreement”), by and among WHI, as borrower

(“Borrower”), CCS-CMGC Intermediate Holdings, Inc. (“Holdings”), and each of Borrower’s

direct or indirect subsidiaries that is a party thereto as a guarantor (collectively, with Borrower and

Holdings, the “Prepetition First Lien Loan Parties”), the lenders party thereto, and UBS AG,

Stamford Branch, as the administrative agent (the “Prepetition First Lien Administrative Agent”)

and as collateral agent (the “Prepetition First Lien Collateral Agent”) for such lenders. The

Prepetition First Lien Credit Agreement provides for two credit facilities: (a) a $65,000,000

revolving loan credit facility (the “Prepetition Revolving Credit Facility” and, the loans provided

thereunder, the “Prepetition Revolving Loans”) provided by certain lenders party to the Prepetition

First Lien Credit Agreement (the “Prepetition Revolving Lenders”); and (b) a $500,000,000 term

loan credit facility (the “Prepetition First Lien Term Loan Facility,” and, together with the

Prepetition Revolving Credit Facility, the “Prepetition First Lien Credit Facility”; and the loans

provided under the Prepetition First Lien Term Loan Facility, the “Prepetition First Lien Term

Loans,” and, together with the Prepetition Revolving Loans, the “Prepetition First Lien Loans”)

provided by certain lenders party to the Prepetition First Lien Credit Agreement (the “Prepetition


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First Lien Term Lenders” and, together with the Prepetition Revolving Lenders, the “Prepetition

First Lien Lenders” and, together with the Prepetition First Lien Administrative Agent and the

Prepetition First Lien Collateral Agent, the “Prepetition First Lien Secured Parties”).

       41.     As of the Petition Date, the aggregate principal amount outstanding under the

Prepetition First Lien Loans is approximately $534,096,041, consisting of approximately

$61,596,041 on account of the Prepetition Revolving Loans and approximately $472,500,000 on

account of the Prepetition First Lien Term Loans (such amounts, collectively with all other

amounts incurred or accrued but unpaid prior to the Petition Date pursuant to the Prepetition First

Lien Credit Agreement, the “Prepetition First Lien Obligations”).

       B.      Prepetition Second Lien Obligations.

       42.     Certain of the Debtors are party to that certain Second Lien Credit Agreement (as

amended, amended and restated, supplemented and otherwise modified from time to time prior to

the date hereof, the “Prepetition Second Lien Credit Agreement”), by and among Borrower,

Holdings, and each of Borrower’s direct or indirect subsidiaries that is a party thereto as a

guarantor (collectively, with Borrower and Holdings, the “Prepetition Second Lien Loan Parties”),

the lenders party thereto, and UBS AG, Stamford Branch, as the administrative agent

(the “Prepetition Second Lien Administrative Agent”) and as the collateral agent (the “Prepetition

Second Lien Collateral Agent”) for such lenders. The Prepetition Second Lien Credit Agreement

provides for a $110,000,000 term loan credit facility (the “Prepetition Second Lien Term Loan

Facility” and, the loans provided thereunder, the “Prepetition Second Lien Term Loans”) provided

by certain lenders party to the Prepetition Second Lien Credit Agreement (the “Prepetition Second

Lien Term Lenders” and, together with the Prepetition Second Lien Administrative Agent and the




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Prepetition Second Lien Collateral Agent, the “Prepetition Second Lien Secured Parties” and,

together with the Prepetition First Lien Secured Parties, the “Prepetition Secured Parties”).

       43.     As of the Petition Date, the aggregate principal amount outstanding under the

Prepetition Second Lien Term Loan Facility is approximately $110,000,000 on account of the

Prepetition Second Lien Term Loans (such amounts, collectively with all other amounts incurred

or accrued but unpaid prior to the Petition Date pursuant to the Prepetition Second Lien Credit

Agreement, the “Prepetition Second Lien Obligations” and, together with the Prepetition First Lien

Obligations, the “Prepetition Secured Obligations”).

III.   Circumstances Leading to These Chapter 11 Cases.

       A.      Rising Cost Pressures and Effect on Financial Performance.

       44.     Over the past three years, Wellpath’s year-over-year financial performance

experienced fluctuations driven by both external and internal challenges. In 2022, Wellpath

reported total revenue of approximately $2.059 billion, an 18% annual growth rate since 2006.

Wellpath attributed its revenue growth to strong performances across state and local government

contracts, as well as contributions from the RS Division.

       45.     In 2023, however, the foregoing trend did not continue. This reversal was due to,

among other things, escalating operating and labor costs, rising professional liability expenses, and

underperforming contracts.

               1.      Operating and Labor Costs.

       46.     The COVID-19 pandemic altered the healthcare landscape and imposed substantial

costs on providers of medical and mental health services driven by increased demand for medical

supplies (e.g., PPE and vaccines) and service professionals (including bonuses and retention

programs aimed at addressing labor shortages).           Although Wellpath was not unique in




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experiencing labor shortages and wage increases during the COVID-19 pandemic, Wellpath felt

their impacts more acutely than other healthcare providers. Wellpath was not eligible to directly

receive funding from the American Rescue Plan Act or Coronavirus Aid, Relief, and Economic

Security Act, despite the purpose of such funds being to cover COVID-related medical expenses

of public medical facilities and support public health expenditures, respectively. Thus, to attract

and retain healthcare professionals and employees, Wellpath had to offer higher salaries and

wages—but without the benefit of the federal stimulus programs available to other healthcare

providers.

       47.     These pandemic-driven material and labor costs amounted to over approximately

$30,000,000 and $50,000,000, respectively, between fiscal years 2020 and 2022. Although these

costs were short-lived in nature, the overall healthcare industry experienced a structural shift in

labor costs due to inflation, minimum wage hikes, and other macroeconomic factors. As a result,

post-pandemic, Wellpath’s labor expenses continued to rise, particularly for the LG Division.

               2.      Professional Liability Expenses.

       48.     Wellpath also faced a short-term increase in professional liability insurance

expenses, primarily driven by case settlements associated with terminated contracts and the lack

of available third-party liability insurance. For example, in 2023, approximately 70% of all

executed settlements related to incidents that allegedly occurred prior to 2018. The settlements

generally arose from claims against the Debtors associated with healthcare services provided

pursuant to the contracts with their government partners. The short-term spike in legal costs further




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strained Wellpath’s financials, with cash settlements totaling approximately $110,000,000

between 2019 and 2023.

       49.     In response, Wellpath undertook a series of mitigation efforts that the Debtors

believe will result in reduced professional liability expense exposure. For example, as part of

Wellpath’s contract rationalization efforts discussed below, Wellpath terminated approximately

65 underperforming contracts that carried outsized risk and for which it was difficult to obtain

insurance coverage. In addition, Wellpath increased provider training and awareness. Because of

these efforts, Wellpath anticipates a meaningful decline in professional liability expenses and

expense exposure.

               3.      Underperforming Contracts.

       50.     A number of Wellpath’s contracts underperformed in 2023. In particular, two

material contracts for facilities located in Michigan and Georgia failed to meet projected financial

performance because (a) Wellpath priced the economic terms for such contracts utilizing historical

pre-COVID data provided by the clients, which did not reflect the post-pandemic operational

challenges and increased costs borne by the healthcare industry and (b) medically necessary off-

site care and pharmacy costs for the impacted facilities exceeded projections which were based on

the information provided by the clients. In addition, high levels of turnover necessitated temporary

retention bonuses to retain staff, further straining Wellpath’s budget. In other words, Wellpath’s

labor and other operating costs increased, but Wellpath could not reprice the contracts to adjust for

the higher costs.

       51.     Further, in Michigan, a large backlog of care from the prior vendor resulted in

higher patient acuity and increased utilization, whereas in Georgia, wage inflation and other

incidents exacerbated the losses. As a result, Wellpath experienced a combined negative gross




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profit of approximately $40,000,000 from 2022 through the first half of 2024 from these two

contracts alone.

       52.     In response to these financial pressures, Wellpath implemented a dual track strategy

to address unprofitable customer contracts. First, Wellpath employed a contract rationalization

strategy to exit from unprofitable or high-risk contracts, especially in connection with local

government healthcare services. In doing so, from 2022 through the first half of 2024, Wellpath

rationalized approximately 65 underperforming contracts.

       53.     Second, Wellpath embarked on a repricing initiative across its portfolio,

particularly with respect to contracts with local governments, to account for increased professional

liability expenses and labor costs.      As part of this strategy, Wellpath institutionalized the

negotiation process to accelerate execution and focused on leveraging its differentiated service

offerings compared to its competitors.

       54.     While these repricing initiatives were effective, they did not provide material near-

term financial relief. On June 25, 2024, Wellpath retained me as its Interim Chief Financial Officer

to replace the former Chief Financial Officer and to assist Wellpath in its restructuring efforts.

       B.      The Debtors’ Prepetition Efforts to Address Declining Liquidity.

       55.     By July 2023, rising costs began to strain Wellpath’s cash flow and liquidity.

Compounding matters, the Debtors’ Prepetition Revolving Credit Facility matured only three

months later. To preserve liquidity, Wellpath approached the Prepetition Revolving Lenders and

negotiated an extension of the maturity date (the “Prepetition Revolving Facility Maturity Date”)

to October 1, 2024. In exchange for securing this extension, Wellpath agreed to maintain minimum

liquidity of at least $20,000,000.

       56.     Wellpath’s management and board of directors recognized that the cost pressures

would continue, so they began to evaluate strategic alternatives. Starting in January 2024, to


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address the Debtors’ significant maturity wall, Lazard worked closely with the Debtors’ legal

counsel, McDermott, to pursue an out-of-court recapitalization transaction involving a sale of the

RS Division. The Debtors sought to use proceeds from a potential sale of the RS Division to pay

down a significant portion of the Prepetition First Lien Credit Facility to facilitate an extension of

the remaining debt amounts. As such, between January and March of 2024, Lazard prepared for

the marketing process of the RS Division.

       57.     The sale process of the RS Division was launched in April of 2024. Lazard,

together with MTS, contacted over 140 parties, including financial sponsors and strategic parties,

to solicit proposals to acquire the RS Division. In connection with this solicitation, Lazard and

MTS prepared, among other things, a confidential information presentation and an electronic data

room to which prospective bidders that executed confidentiality agreements received access. In

total, more than 70 prospective bidders executed confidentiality agreements and received access

to private-side information. By the end of June 2024, the Debtors received six preliminary

indications of interest as part of a first-round process. The Debtors continued and further advanced

the marketing process during July and August of 2024. During that time, the Debtors and Lazard

began engaging with the Ad Hoc Group to discuss the preliminary framework of a potential

amend-and-extend transaction.

       58.     However, despite the Debtors’ robust marketing process, after several weeks of

further diligence and management presentations, the Debtors only received one formal second-

round check-in bid, which was at a reduced valuation from the preliminary indication of interest.

While Wellpath and its advisors tried to keep the bidder engaged, the Debtors also attempted to

reengage with other bidders between August and September of 2024. The Debtors did not receive

any acceptable bids at the conclusion of the Debtors’ bidding process.




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        C.      Engagement with Stakeholders to Address Wellpath’s Capital Structure.

        59.     The inability to secure an acceptable and committed third-party bid for the

RS Division, ongoing liquidity challenges, growing vendor payables, and the approaching

Prepetition Revolving Facility Maturity Date (i.e., October 1, 2024) prompted the Debtors to

temporarily put the marketing process on hold and to pivot to negotiating the terms of an in-court

restructuring with the Ad Hoc Group.

        60.     As the parties negotiated the terms of a potential restructuring, the Debtors’

declining liquidity, upcoming interest and amortization payments, and pending debt maturity made

it clear a from forbearance from the lenders would be necessary to extend the Debtors’ liquidity

runway so the parties could continue negotiations. Accordingly, on August 30, 2024, the Debtors,

the Ad Hoc Group, the Prepetition First Lien Administrative Agent, and the Prepetition Second

Lien Administrative Agent, as applicable, executed both the Forbearance Agreement to First Lien

Credit Agreement (as amended, the “First Lien Forbearance Agreement”) and the Forbearance

Agreement to Second Lien Credit Agreement (as amended, the “Second Lien Forbearance

Agreement”       and,     together   with    the    First    Lien    Forbearance      Agreement,

the “Forbearance Agreements”). Under the Forbearance Agreements, the Prepetition Secured

Parties agreed to forbear until September 30, 2024 from exercising certain rights and remedies

available to them under the Prepetition First Lien Credit Agreement and the Prepetition Second

Lien Credit Agreement, as applicable. That deadline was later extended to November 15, 2024.

The Forbearance Agreements provided the Debtors with much needed breathing room and

liquidity relief to negotiate a comprehensive restructuring with the Ad Hoc Group and explore

strategic alternatives.




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          61.   On November 11, 2024, in connection with the board’s ongoing review of strategic

alternatives, Wellpath’s board appointed two independent and disinterested directors, Patrick J.

Bartels and Carol Flaton, who together comprise a special committee of disinterested directors.

Wellpath’s board of directors delegated to the new directors the authority to, among other things,

review and act upon strategic transactions, including authorizing the filing of these chapter 11

cases.

IV.       The Restructuring Support Agreement and Path for the Chapter 11 Cases.

          62.   Following the execution of the Forbearance Agreements, Wellpath and the Ad Hoc

Group continued discussions about the terms of an in-court or out of court restructuring. On

November 11, 2024, those discussions culminated in the execution of the RSA between the

Debtors and the Consenting Stakeholders (as defined in the RSA). In conjunction therewith, the

Debtors entered into a purchase agreement with RS Purchaser LLC (the “Recovery Solutions

Stalking Horse”) to serve as stalking horse bidder for the Debtors’ RS Division assets.

          63.   The RSA establishes a clear and value-maximizing framework—with the necessary

financing—for these chapter 11 cases and provides for the continuation of the RS Division sale

process and the initiation of a sale process for the LG Division assets and the SF Division assets.

The sales may be consummated pursuant to one or more of (a) an asset purchase agreement, (b) a

share purchase agreement, or (c) a plan of reorganization. As set forth above, the Recovery

Solutions Stalking Horse will serve as the stalking horse bidder for the Debtors’ RS Division

assets.

          64.   Concurrently with the contemplated sale process, the Debtors will file and seek

confirmation of a chapter 11 plan (the “Plan”). Among other things, the Plan will provide for the

sale of 97% of the equity interests in Reorganized Wellpath to the DIP Lenders (subject to dilution




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in connection with any management incentive plan or post-effective date issuances) pursuant to a

private placement issuance, in addition to a distribution of 3% of the equity interests in

Reorganized Wellpath under the Plan to holders of claims under the Prepetition First Lien Credit

Agreement. The Plan will be withdrawn or modified and prosecuted based on the results of the

Debtors’ sale process.

          65.   A key aspect of the RSA is the Debtors’ ability to move through chapter 11 in an

efficient and timely manner. Although the proposed Bidding Procedures and the RSA provide for

a longer runway for the LG Division assets and SF Division assets, the Debtors propose a faster

timeline—approximately six weeks—to market and close the sale of the RS Division’s assets. The

timeline for the post-petition marketing process, though expeditious, proposes a reasonable

schedule that is appropriate under the circumstances when considering both the (a) extensive

prepetition marketing process the occurred prepetition and (b) vulnerable patients the RS Division

serves.

          66.   In short, the RSA provides Wellpath with the flexibility it needs to pursue value-

maximizing transactions and reorganize for continued operation on a quick timeframe. Indeed,

minimizing time in chapter 11 is crucial to both Wellpath’s stakeholders and its patients. Wellpath

intends to proceed with a fair and efficient process to preserve and maximize value for all

stakeholders, which ultimately will inure to the substantial benefit of all parties in interest.




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V.       First Day Pleadings and Related Relief Requested.

         A.       The Debtors’ Need for DIP Financing and Access to Cash Collateral. 5

         67.      Pursuant to the DIP Motion, the Debtors seek authority to enter into the DIP Term

Facility, use Cash Collateral, and obtain related relief. The DIP Term Facility, if approved, would

provide the Debtors with access to $105,000,000 of desperately needed new money capital.

         68.      As of the Petition Date, the Debtors will have approximately $47,000,000 of

unrestricted cash on hand, which is insufficient to operate their enterprise and continue paying

their obligations as they come due. Indeed, in the weeks prior to the Petition Date, the Debtors

were unable to make any payments due to inventory vendors in the ordinary course and were

forced to forego all such payments. Although the Debtors attempted to manage relationships with

suppliers, vendors, and surety providers near-term payment demands and supply chain disruptions

indicated that this stopgap measure was not sustainable.

         69.      Facing a liquidity crisis and the risk of jeopardizing key relationships with their

vendor partners, the Debtors, with the assistance of their advisors, determined that they required

obtaining incremental and immediate liquidity to address their post-petition financing needs.

Absent the ability to access the funds available under the DIP Term Facility and Cash Collateral,

the Debtors would likely face a value-destructive and immediate interruption to their operations

and lose support from key stakeholders on which the Debtors’ business depends, including

vendors, suppliers, and employees.




5
     Evidentiary support for the DIP Motion is included in the Declaration of Christian Tempke in Support of Debtors’
     Emergency Motion for Entry of Interim and Final Orders (I) Authorizing the Debtors to (A) Obtain Postpetition
     Financing and (B) Use Cash Collateral, (II) Granting Liens and Superpriority Administrative Expense Claims,
     (III) Granting Adequate Protection to the Prepetition Secured Parties, (IV) Modifying the Automatic Stay,
     (V) Scheduling a Final Hearing, and (VI) Granting Related Relief filed contemporaneously herewith.


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       70.     The Debtors will require immediate access to the DIP Term Facility and use of

Cash Collateral to ensure they have sufficient liquidity during the interim period to fund essential

costs and expenses and avoid irreparable harm to the Debtors’ operations. In addition, the Debtors

will require full access to the DIP Term Facility after a final hearing to continue providing

uninterrupted patient care, fund working capital needs, and consummate the transactions

contemplated in the RSA. The Debtors, with the assistance of their advisors, have concluded that

the proposed DIP Term Facility will be sufficient to support operations and maintain necessary

liquidity on the currently contemplated schedule for these chapter 11 cases.

       71.     The Debtors, in consultation with their advisors, have also determined that the

proposed DIP Term Facility is necessary to ensure a positive message to the market that these

chapter 11 cases are sufficiently funded, which is critical to address the concerns raised by the

Debtors’ patients, customers, employees, and vendors. Thus, immediate access to the DIP Term

Facility and Cash Collateral is crucial to the Debtors’ efforts to preserve value for their

stakeholders during these chapter 11 cases.

       72.     Based upon my personal knowledge and participation in the development and

review of the proposed budget (the “Initial DIP Budget”), without the DIP Term Facility and

authorized use of Cash Collateral, the Debtors will not have sufficient sources of working capital

and financing to operate their businesses or maintain their properties in the ordinary course of

business throughout these chapter 11 cases.

       B.      Other First Day Pleadings.

       73.     In connection with the filing of the Petitions, the Debtors filed the below-listed First

Day Pleadings, which are explained in greater detail in Exhibit C, requesting relief that the

Debtors believe is necessary to enable them to administer their estates with minimal disruption




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and loss of value during these chapter 11 cases. The facts set forth in each of the First Day

Pleadings are incorporated herein in their entirety.6

                 1.       Administrative Motions.

                 (a)      Debtors’ Emergency Motion for Entry of an Order (I) Directing Joint
                          Administration of the Chapter 11 Cases and (II) Granting Related
                          Relief (the “Joint Administration Motion”).

                 (b)      Debtors’ Emergency Ex Parte Application for Entry of an Order
                          Authorizing the Employment and Retention of Epiq Corporate
                          Restructuring, LLC as Claims, Noticing, and Solicitation Agent
                          (the “Claims and Noticing Agent Retention Application”).

                 (c)      Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the
                          Debtors to Redact Personally Identifiable Information, (II) Approving
                          the Form and Manner of Notifying Creditors of Commencement of
                          These Chapter 11 Cases and Other Information and (III) Granting
                          Related Relief (the “Creditor Matrix Motion”).

                 (d)      Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the
                          Implementation of Procedures to Maintain and Protect Confidential
                          Health     Information     and    (II) Granting   Related    Relief
                          (the Patient Confidentiality Motion”).

                 (e)      Debtors’ Emergency Motion for Entry of an Order (I) Extending Time
                          to File (A) Schedules and Statements and (B) Bankruptcy Rule 2015.3
                          Financial Reports, and (II) Granting Related Relief (the “SOFA
                          Extension Motion”).




6
    Capitalized terms used in this section but not otherwise defined herein shall have the meanings ascribed to them
    in the respective First Day Pleadings.



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      2.    Operational Motions Requiring Immediate Relief.

      (a)   Debtors’ Emergency Motion for Entry of Interim and Final Orders
            (I) Authorizing the Debtors to (A) Continue to Operate Their Cash
            Management System and Maintain Existing Bank Accounts, and
            (B) Maintain Existing Business Forms and Books and Records,
            (II) Waiving Deposit Requirements, (III) Allowing Intercompany
            Transactions and Affording Administrative Expense Priority to Post-
            Petition Intercompany Claims, and (IV) Granting Related Relief
            (the “Cash Management Motion”).

      (b)   Debtors’ Emergency Motion for Entry of Interim and Final Orders
            (I) Authorizing the Debtors to Pay Certain Prepetition Claims of
            (A) Lien Claimants, (B) 503(B)(9) Claimants, (C) PACA/PASA
            Claimants, and (D) Critical Vendors, (II) Confirming Administrative
            Expense Priority for Outstanding Orders, and (III) Granting Related
            Relief (the “Critical Vendors Motion”).

      (c)   Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the
            Debtors to (A) Honor and Incur Obligations to Professional
            Corporations and (B) Obtain New Professional Corporation Contracts,
            (II) Extending Statutory Protections to Professional Corporations, and
            (III) Granting Related Relief (the “PC Motion”).

      (d)   Debtors’ Emergency Motion for Entry of Interim and Final Orders
            (I) Authorizing the Debtors to (A) Continue Insurance Coverage
            Entered into Prepetition and Satisfy Prepetition Obligations Related
            Thereto, (B) Honor and Renew the Premium Financing Agreements
            Entered into Prepetition and Satisfy Obligations Related Thereto,
            (C) Renew, Amend, Supplement, Extend, or Purchase Insurance
            Policies, (D) Continue to Pay Brokerage Fees, and (E) Maintain
            the Surety Bond Program and Letters Of Credit, and (II) Granting
            Related Relief (the “Insurance Motion”).

      (e)   Debtors’ Emergency Motion for Entry of an Order (I) Approving
            Notification and Hearing Procedures for Certain Transfers of and
            Declarations of Worthlessness with Respect to Equity of the Debtors
            and (II) Granting Related Relief (the “NOL Motion”).

      (f)   Debtors’ Emergency Motion for Entry of an Order (I) Authorizing
            Debtors to Pay Certain Prepetition Taxes and Fees and (II) Granting
            Related Relief (the “Taxes Motion”).




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               (g)     Debtors’ Emergency Motion for Entry of an Order (I) Approving
                       the Debtors’ Proposed Adequate Assurance of Payment for Future
                       Utility Services, (II) Prohibiting Utility Providers from Altering,
                       Refusing, or Discontinuing Services, (III) Approving the Debtors’
                       Proposed Procedures for Resolving Adequate Assurance Requests, and
                       (IV) Granting Related Relief (the “Utilities Motion”).

               (h)     Debtors’ Emergency Motion for Entry of an Order (I) Authorizing the
                       Debtors to (A) Pay Prepetition Wages, Salaries, Other Compensation,
                       and Reimbursable Expenses, (B) Continue Employee Benefits
                       Programs, and (II) Authorizing Current and Former Employees to
                       Proceed with Outstanding Workers’ Compensation Claims, and
                       (III) Granting Related Relief (the “Wages Motion”).

               (i)     Debtors’ Emergency Motion for Entry of Interim and Final Orders
                       (I) Authorizing the Debtors to Maintain and Administer Their Existing
                       Customer Programs and Honor Certain Prepetition Obligations
                       Related     Thereto     and     (II)   Granting    Related     Relief
                       (the “Customer Programs Motion”).

               (j)     Debtors’ Emergency Motion for Entry of Interim and Final Order to
                       Enforce the Automatic Stay or in the Alternative Extend the Automatic
                       Stay to Non-Debtor Defendants (the “Stay Extension Motion”).

       74.     The First Day Pleadings request authority to, among other things, enter into the DIP

Term Facility and continue use of the Debtors’ Cash Collateral, honor workforce-related

compensation and benefits obligations, pay claims of prepetition critical vendors, continue to

honor certain customer programs, and continue the Debtors’ cash management system and other

operations in the ordinary course of business to ensure minimal disruption of the Debtors’ business

operations during these chapter 11 cases. For the avoidance of doubt, the Debtors request

authority, but not direction, to pay amounts or satisfy obligations with respect to the relief

requested in the First Day Pleadings.

       75.     The Debtors have tailored their requests for immediate relief to those circumstances

when the failure to receive such relief would cause immediate and irreparable harm to the Debtors

and their estates. An orderly transition into chapter 11 is critical to the viability of the Debtors’

operations and that any delay in granting the relief described below could hinder the Debtors’


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operations and cause irreparable harm. Other requests for relief will be deferred for consideration

at a later hearing.

        76.     I have reviewed each of the First Day Pleadings and am familiar with the content

and substance contained therein. The facts set forth in each First Day Pleading are true and correct

to the best of my knowledge and belief with appropriate reliance on other corporate officers and

advisors and I can attest to such facts. The relief requested in each of the First Day Pleadings (a) is

necessary to allow the Debtors to operate with minimal disruption and productivity losses during

these chapter 11 cases, (b) is critical to ensure the maximization of value of the Debtors’ estates

through preserving customer, supplier and other partner relationships, among other things, (c) is

essential to achieving a successful reorganization and ultimately emerging as a sustainable

enterprise, and (d) serves the best interests of the Debtors’ stakeholders.

                                             Conclusion

        77.     The Debtors’ ultimate goal in these chapter 11 cases is to achieve an orderly,

efficient, consensual, and successful reorganization to maximize the value of the Debtors’ estates

for their stakeholders. To minimize any loss of value, the Debtors’ immediate objective is to

maintain a business-as-usual atmosphere during the course of these chapter 11 cases, with as little

interruption or disruption to the Debtors’ operations as possible. I believe that if the Court grants

the relief requested in each of the First Day Pleadings, the prospect for achieving these objectives

and completing a successful reorganization of the Debtors’ businesses will be substantially

enhanced.

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       Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing

statements are true and correct to the best of my knowledge, information, and belief.

  Dated: November 12, 2024                          /s/    Timothy J. Dragelin
                                                    Name: Timothy J. Dragelin
                                                    Title: Chief Restructuring Officer and
                                                           Chief Financial Officer.




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